     Case 3:21-cv-00259-DCG-JES-JVB Document 188 Filed 02/08/22 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                    EL PASO DIVISION

LEAGUE OF UNITED LATIN                            §
AMERICAN CITIZENS, et al.,                        §
                                                  §
               Plaintiffs,                        §
v.                                                §     EP-21-CV-00259-DCG-JES-JVB
                                                  §                 [Lead Case]
GREG ABBOTT, in his official capacity as          §
Governor of the State of Texas, et al.,           §
                                                  §
               Defendants.                        §
                                                  §


DAMON JAMES WILSON, for himself                   §
and on behalf of all others similarly situated,   §
                                                  §
               Plaintiffs,                        §      Case No. 1:21-CV-00943-RP-JES-JVB
v.                                                §               [Consolidated Case]
                                                  §
STATE OF TEXAS, et al.,                           §
                                                  §
               Defendants.                        §
                                                  §

                                      FINAL JUDGMENT
                             IN CASE NO. 1:21-CV-00943-RP-JES-JVB

        In accordance with the Court’s “Order Dismissing Complaint” (ECF No. 63) and “Order

Denying Leave to Amend and Dismissing Action” (ECF No. 187) issued this date in Lead Case

No. EP-21-CV-00259-DCG-JES-JVB, the Court enters, pursuant to Federal Rule of Civil

Procedure 58, its Final Judgment disposing of the action styled as Wilson v. State of Texas, et al.,

Case No. 1:21-CV-00943-RP-JES-JVB, in its entirety. There being no just reason for delay, this

is a FINAL and APPEALABLE judgment.

        IT IS ORDERED that Plaintiff Damon Wilson’s claims against Defendants State of
   Case 3:21-cv-00259-DCG-JES-JVB Document 188 Filed 02/08/22 Page 2 of 2




Texas, Greg Abbott, Dade Phelan, Dan Patrick, and Jose A. Esparza asserted in Case No. 1:21-

CV-00943-RP-JES-JVB are DISMISSED WITHOUT PREJUDICE.

       IT IS FURTHER ORDERED that the District Clerk SHALL DOCKET this Final

Judgment both in Case No. EP-21-CV-00259-DCG-JES-JVB and Case No. 1:21-CV-00943-RP-JES-

JVB.

       IT IS FINALLY ORDERED that the District Clerk SHALL CLOSE Case No. 1:21-CV-

00943-RP-JES-JVB.

       So ORDERED and SIGNED on this _8th_ day of February 2022.



                                                ____________________________________
                                                DAVID C. GUADERRAMA
                                                UNITED STATES DISTRICT JUDGE

                                       And on behalf of:

Jerry E. Smith                                             Jeffrey V. Brown
United States Circuit Judge                   -and-        United States District Judge
U.S. Court of Appeals, Fifth Circuit                       Southern District of Texas




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